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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                 )
In re:                                           )      Chapter 11
                                                 )
HIGHLAND CAPITAL MANAGEMENT, L.P.                )      Case No. 19-34054 (SGJ11)
                                                 )
         Debtors.                                )      (Jointly Administered)
                                                 )
                                                 )
                                                 )
HIGHLAND CAPITAL MANAGEMENT, L.P.,               )
                                                 )
         Plaintiff,                              )
                                                 )
         v.                                      )      Adv. Pro. No. 21-03004 (SGJ11)
                                                 )
HIGHLAND CAPITAL MANAGEMENT                      )
FUND ADVISORS, L.P.,                             )
                                                 )
         Defendant.                              )
                                                 )

                K&L GATES LLP’S MOTION TO WITHDRAW AS COUNSEL
              TO HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

         K&L Gates LLP (“KLG”), by and through the undersigned attorneys, hereby moves (the

“Motion”), pursuant to Local Rule 2091-1, to withdraw as counsel to Highland Capital

Management Fund Advisors, L.P. (the “Client”) in the above-captioned adversary proceeding
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(the “AP”). In support, KLG represents to the Court that the Client has competent existing

counsel in the AP as follows:

                                      Davor Rukavina, Esq.
                                     Texas Bar No. 24030781
                                       Julian P. Vasek, Esq.
                                     Texas Bar No. 24070790
                                MUNSCH HARDT KOPF & HARR, P.C.
                                         3800 Ross Tower
                                        500 N. Akard Street
                                    Dallas, Texas 75202-2790
                                    Telephone: (214) 855-7500
                                    Facsimile: (214) 978-4375

       In light of the Client’s representation by Munsch Hardt Kopf & Harr, P.C., KLG’s

services are unnecessary in the AP.

       WHEREFORE, KLG respectfully requests that the Court enter an order authorizing

KLG’s withdrawal as counsel to the Client in the AP.

Dated: March 8, 2021                       Respectfully submitted,

                                           /s/ A. Lee Hogewood, III
                                           A. Lee Hogewood, III (pro hac vice)
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                               CERTIFICATE OF SERVICE

       I, A. Lee Hogewood, III, hereby certify that this document filed through the CM/ECF
system on March 8, 2021 will be sent electronically to the registered participants of CM/ECF for
the United States Bankruptcy Court for the Northern District of Texas.


                                                     /s/ A. Lee Hogewood, III
                                                     A. Lee Hogewood, III




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